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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
             Plaintiff,       )
                              )                                   8:07CR301
    vs.                       )
                              )                                     ORDER
OSCAR COLMENARES-GONZALEZ and )
COLMENARES RODRIGUEZ, INC.,   )
                              )
             Defendants.      )


        This matter is before the court on the defendants' motions for additional time to file
pretrial motions and to continue trial (Filings 77 & 78). The defendant has filed an affidavit
or declaration regarding speedy trial, as required by NECrimR 12.1 and/or 12.3, For good
cause shown, the court finds that the motions should be granted.

       IT IS ORDERED that the motions are granted, as follows:

      1. The deadline for filing pretrial motions is extended to July 16, 2008 as to both
defendants.

       2.   The trial now set for July 7, 2008, is continued to Tuesday, October 7, 2008.

        3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between June 25, 2008 and October 7, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED June 26, 2008.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
